Case 1:20-cv-01056-STA-atc Document 40 Filed 06/26/20 Page 1 of 14                    PageID 195



255-173-00
                        IN THE UNITED STATES DISTRICT COURT
                       FOR THE WESTERN DISTRICT OF TENNESSEE
                                  EASTERN DIVISION

JENNIFER LOUISE JENKINS,                               )
Administrator ad Litem of the                          )
ESTATE OF STERLING L. HIGGINS                          )
                                                       )
        Plaintiff,                                     )
v.                                                     )       No. 20-cv-01056 STA-dkv
                                                       )
OBION COUNTY, TENNESSEE;                               )
UNION CITY, TENNESSEE;                                 )
ROBERT THOMAS OSBORNE, Individually;                   )
MARY BROGLIN, Individually;                            )
WAYLON SPAULDING, Individually; and,                   )
BRENDON SANFORD, Individually                          )
                                                       )
        Defendants.                                    )


                        ANSWER TO FIRST AMENDED COMPLAINT


        Defendants Obion County, Tennessee, Mary Brogglin, Waylon Spaulding and Brendon

Sanford (“Defendants”), Answer the Plaintiff’s First Amended Complaint [ECF 37].

                                     GENERAL OBJECTION

        Defendants object to the allegations appearing in the Plaintiff’s First Amended Complaint

to the extent that they state legal conclusions and to the form of the pleadings in that they make

certain implications beyond the factual assertions alleged. Such implications, whether apparent or

unapparent, are expressly and unequivocally denied and Defendants demand strict proof thereof.

Defendants further object to the First Amended Complaint in that it fails to comply with Rule 8 of

the Federal Rules of Civil Procedure. Defendants deny that they violated Sterling Higgins’

constitutional rights and deny that Plaintiff is entitled to any relief whatsoever.

                                                  1
Case 1:20-cv-01056-STA-atc Document 40 Filed 06/26/20 Page 2 of 14                    PageID 196




                                ADMISSIONS AND DENIALS

       Without waiving the above objections, Defendants respond to the specific allegations in

Plaintiff’s First Amended Complaint as follows:

       1. Defendants admit Plaintiff asserts both federal and state claims. Defendants deny

          Plaintiff is entitled to any relief or recovery whatsoever from these Defendants under

          any theory of law and deny all other allegations appearing in this paragraph.

       2. Denied.

       3. Defendants do not dispute that this Court possesses jurisdiction over Plaintiff’s federal

          claims. Defendants deny this Court should exercise supplemental jurisdiction over

          Plaintiff’s state law claims, deny they violated Mr. Higgins’ rights, and deny that

          Plaintiff is entitled to any relief or recovery whatsoever from these Defendants under

          any theory of law.

       4. Defendants do not dispute that this Court possesses personal jurisdiction over

          Defendants. Defendants deny that Plaintiff is entitled to any relief or recovery

          whatsoever from these Defendants under any theory of law

       5. Defendants do not dispute that venue is proper. Defendants deny that Plaintiff is

          entitled to any relief or recovery whatsoever from these Defendants under any theory

          of law.

       6. Based upon information and belief, admit that the Gibson County Chancery Court

          appointed Plaintiff the Administrator ad Litem of the Estate of Sterling Lapree Higgins.

          Defendants are without sufficient information or belief to admit or deny whether Mr.

          Higgins had two minor children and demand strict proof thereof. Defendants deny



                                                2
Case 1:20-cv-01056-STA-atc Document 40 Filed 06/26/20 Page 3 of 14                 PageID 197




         Plaintiff is entitled to any relief or recovery whatsoever from these Defendants under

         any theory of law.

      7. Admit that Mr. Higgins died on March 25, 2019. Without sufficient information or

         belief to admit or deny Mr. Higgins’ age, citizenship, or place of residence. Deny the

         remaining allegations appearing in this paragraph.

      8. Admit that Obion County, Tennessee is a political subdivision of the State of

         Tennessee. Defendants deny that they are liable to the Plaintiff under any theory of

         law and deny that Obion County can be held liable under a respondeat superior theory

         to the extent Plaintiff’s claims are brought under 42 U.S.C. § 1983. Defendants further

         rely upon any and all immunities available to them and the affirmative defenses set

         forth below.

      9. The allegations appearing in this paragraph are not directed towards these Defendants.

         Therefore, no response is necessary.

      10. The allegations appearing in this paragraph are not directed towards these Defendants.

         Therefore, no response is necessary.

      11. Admit that Mary Brogglin was employed by Obion County and was an officer at the

         Obion County Jail at all times relevant. Defendants deny Defendant Brogglin violated

         Mr. Higgins’s rights under state or federal law and deny the remaining allegations

         appearing in this paragraph.

      12. Admit that Waylon Spaulding was employed by Obion County and was an officer at

         the Obion County Jail at all times relevant. Defendants deny Defendant Spaulding

         violated Mr. Higgins’s rights under state or federal law and deny the remaining

         allegations appearing in this paragraph.
                                                3
Case 1:20-cv-01056-STA-atc Document 40 Filed 06/26/20 Page 4 of 14                PageID 198




      13. Admit that Brendon Sanford was employed by Obion County and was an officer at the

         Obion County Jail at all times relevant. Defendants deny Defendant Sanford violated

         Mr. Higgins’s rights under state or federal law and deny the remaining allegations

         appearing in this paragraph.

      14. Based upon information and belief, admit that Mr. Higgins called 911 on the night of

         March 24, 2019. Deny the remaining allegations appearing in this paragraph.

      15. Without sufficient information or belief to admit or deny and demand strict proof

         thereof.

      16. Based upon information and belief, admitted that Union City Police officers were

         dispatched to Pocket’s Market. Without sufficient information or belief to admit or

         deny the remaining allegations appearing in this paragraph.

      17. Without sufficient information or belief to admit or deny and demand strict proof

         thereof.

      18. Without sufficient information or belief to admit or deny and demand strict proof

         thereof.

      19. Without sufficient information or belief to admit or deny and demand strict proof

         thereof.

      20. Without sufficient information or belief to admit or deny and demand strict proof

         thereof.

      21. Without sufficient information or belief to admit or deny and demand strict proof

         thereof.

      22. Without sufficient information or belief to admit or deny and demand strict proof

         thereof.
                                             4
Case 1:20-cv-01056-STA-atc Document 40 Filed 06/26/20 Page 5 of 14                  PageID 199




      23. Admit that Defendant Osborne took Mr. Higgins to the Obion County Jail on March

         25, 2019. Without sufficient information or belief to admit or deny the remaining

         allegations in this paragraph and demand strict proof thereof.

      24. Admit that Defendant Osborne took Mr. Higgins to the Obion County Jail. Deny the

         remaining allegations appearing in this paragraph.

      25. Admit that when Defendant Osborne arrived at the jail, he parked his vehicle in the

         sally-port. Further admit that after Defendant Osborne allowed Mr. Higgins out of the

         vehicle, Mr. Higgins ran around the patrol car. Without sufficient information or belief

         to admit or deny what, if any, statements Mr. Higgins made in the sally-port. Deny that

         these Defendants observed or interacted with Mr. Higgins until he attacked Defendant

         Brogglin immediately after Mr. Higgins entered the jail. Deny all other allegations in

         this paragraph to the extent they are direct towards these Defendants.

      26. Admit that prior to Defendant Osborne escorting Mr. Higgins into the jail, Defendant

         Brogglin was engaged in normal job duties. Deny the remaining allegations appearing

         in this paragraph.

      27. Admit that after entering the jail, Mr. Higgins attacked Defendant Brogglin and

         violently pulled her hair. Deny the remaining allegations in this paragraph.

      28. Admit that Defendant Spaulding was at the Obion County Jail at the time Defendant

         Osborne arrived to the jail. Deny the remaining allegations appearing in this paragraph.

      29. Denied.

      30. Denied.

      31. Admit that Defendant Sanford and Brogglin were present in the hallway of the jail.

         Deny the remaining allegations in this paragraph.
                                              5
Case 1:20-cv-01056-STA-atc Document 40 Filed 06/26/20 Page 6 of 14                 PageID 200




      32. Denied.

      33. Denied.

      34. Denied.

      35. Denied.

      36. Admit that officers placed Mr. Higgins in a restraint chair. Deny the remaining

         allegations in this paragraph.

      37. Admit that officers placed Mr. Higgins in a booking cell. Deny the remaining

         allegations in this paragraph.

      38. Admit that officers placed Mr. Higgins in a booking cell. Deny the remaining

         allegations in this paragraph.

      39. Admit that officers checked Mr. Higgins’ pulse. Deny the remaining allegations

         appearing in this paragraph.

      40. Denied.

      41. The allegations in this paragraph are not directed toward these Defendants, therefore

         no response is necessary. To the extent any allegations in this paragraph are directed

         towards these Defendants, denied.

      42. The allegations in this paragraph are not directed toward these Defendants, therefore

         no response is necessary. To the extent any allegations in this paragraph are directed

         towards these Defendants, denied.

      43. Denied.

      44. Denied.

      45. Admit that some of the Defendants removed restraints from Mr. Higgins. Deny all other

         remaining allegations appearing in this paragraph.
                                              6
Case 1:20-cv-01056-STA-atc Document 40 Filed 06/26/20 Page 7 of 14                    PageID 201




      46. Admit that Fire/EMS personnel arrived at the jail. Deny all other remaining allegations

         appearing in this paragraph.

      47. Admitted.

      48. Admit that surveillance footage captured a portion of the events that are subject to this

         lawsuit. Deny the remaining allegations appearing in this paragraph.

      49. Denied.

      50. Denied.

      51. Denied.

      52. Denied.

      53. Denied.

      54. Denied.

      55. Admitted that Mr. Higgins was pronounced dead on March 25, 2019. Without sufficient

         information or belief to admit or deny the remaining allegations appearing in this

         paragraph.

      56. Admitted that Defendants Spaulding, Brogglin, and Sanford were acting in the course

         and scope of their employment with Obion County. Deny the remaining allegations

         appearing in this paragraph.

      57. Denied.

      58. Denied.

      59. The allegations appearing in this paragraph are not directed towards these Defendants.

         Therefore, no response is necessary. To the extent any allegations in this paragraph are

         directed towards these Defendants, denied.



                                                7
Case 1:20-cv-01056-STA-atc Document 40 Filed 06/26/20 Page 8 of 14                  PageID 202




      60. Denied to the extent the allegations in this paragraph are directed toward these

         Defendants.

      61. Denied to the extent the allegations in this paragraph are directed toward these

         Defendants.

      62. Denied.

      63. The allegations appearing in this paragraph are not directed towards these Defendants.

         Therefore, no response is necessary. To the extent any allegations in this paragraph are

         directed towards these Defendants, denied.

      64. Denied to the extent the allegations in this paragraph are directed toward these

         Defendants.

      65. Denied to the extent the allegations in this paragraph are directed toward these

         Defendants.

      66. Denied to the extent the allegations in this paragraph are directed toward these

         Defendants.

      67. Denied.

      68. Defendants incorporate their responses to all other paragraphs of the First Amended

         Complaint as if fully set forth herein.

      69. Denied.

      70. Defendants incorporate their responses to all other paragraphs of the First Amended

         Complaint as if fully set forth herein.

      71. The allegations appearing in this paragraph are not directed towards these Defendants.

         Therefore, no response is necessary.



                                                8
Case 1:20-cv-01056-STA-atc Document 40 Filed 06/26/20 Page 9 of 14                  PageID 203




      72. Defendants incorporate their responses to all other paragraphs of the First Amended

         Complaint as if fully set forth herein.

      73. Denied to the extent the allegations in this paragraph are directed toward these

         Defendants.

      74. The allegations appearing in this paragraph are not directed towards these Defendants.

         Therefore, no response is necessary.

      75. Denied.

      76. Denied.

      77. Denied.

      78. Defendants incorporate their responses to all other paragraphs of the First Amended

         Complaint as if fully set forth herein.

      79. Denied.

      80. Defendants incorporate their responses to all other paragraphs of the First Amended

         Complaint as if fully set forth herein.

      81. The allegations appearing in this paragraph are not directed towards these Defendants.

         Therefore, no response is necessary. To the extent any allegations in this paragraph are

         directed towards these Defendants, denied.

      82. The allegations appearing in this paragraph are not directed towards these Defendants.

         Therefore, no response is necessary. To the extent any allegations in this paragraph are

         directed towards these Defendants, denied.

      83. The allegations appearing in this paragraph are not directed towards these Defendants.

         Therefore, no response is necessary. To the extent any allegations in this paragraph are

         directed towards these Defendants, denied.
                                                9
Case 1:20-cv-01056-STA-atc Document 40 Filed 06/26/20 Page 10 of 14                        PageID 204




        84. Defendants acknowledge Plaintiff’s right to a jury trial except to the extent Plaintiff

             demands a jury to hear Plaintiff’s claims subject to the GTLA.

        85. Defendants deny Plaintiff is entitled to any relief under any theory of law.

                                        GENERAL DENIAL

        All allegations contained within the First Amended Complaint not admitted, denied, or

 explained are now expressly denied, and Defendants demand strict proof thereof. Defendants deny

 that the Plaintiff is entitled to any relief from these Defendants under any theory of law. Defendants

 demand that this cause of action be dismissed and that they be awarded whatever relief this Court

 deems necessary and/or appropriate, including costs and attorney fees.

                                    AFFIRMATIVE DEFENSES

        1.      Defendants hereby state that the Plaintiff’s First Amended Complaint should be

                dismissed pursuant to Rule 12 of the Federal Rules of Civil Procedure in that

                Plaintiff has failed to set forth a claim upon which relief can be granted against

                Defendants.

        2.      To the extent discovery reveals that Plaintiff lacks standing to pursue this action

                pursuant to Tennessee’s wrongful death statute, the Plaintiff’s claims should be

                dismissed.

        3.      Defendants affirmatively plead any and all immunities, whether absolute and/or

                qualified, including the Public Duty Doctrine and all immunities set forth pursuant

                to T.C.A. § 29-20-101 et. seq., otherwise known as the Tennessee Governmental

                Tort Liability Act and demand strict statutory compliance with said Act. Immunity

                has not been waived. Therefore, Plaintiff may not recover from these Defendants.



                                                  10
Case 1:20-cv-01056-STA-atc Document 40 Filed 06/26/20 Page 11 of 14                   PageID 205




       4.    Defendants rely upon qualified immunity, as the decedent did not suffer a

             constitutional deprivation and no alleged violation involved a clearly established

             constitutional right of which a reasonable person would have known. Plaintiff can

             offer no evidence to indicate that any action or omission of Defendants was

             objectively unreasonable in light of any clearly established constitutional rights.

       5.    Defendants specifically deny and affirmatively state that at no time did they violate

             the decedent’s Constitutional rights. Therefore, the Plaintiff’s claims should be

             dismissed.

       6.    To the extent that Plaintiff’s 42 U.S.C. § 1983 claims against Defendants are based

             on a respondeat superior theory of liability, such claims are without merit and are

             not allowable under 42 U.S.C. § 1983.

       7.    At all times relevant, Defendants acted in good faith, as reasonable and prudent

             governmental entity/actors without any subjective denial of the decedent’s

             Constitutional rights and in accordance with the enacted appropriate policies and

             procedures designed to protect the decedent. Moreover, at all times relevant,

             Defendants acted in an objectively reasonable manner given the information and

             circumstances then and there known to Defendants.

       8.    At no time did Defendants act with deliberate indifference towards the decedent.

       9.    At all times relevant, Obion County had enacted appropriate policies and

             procedures designed to protect the constitutional rights of the decedent. Moreover,

             there was not a policy or custom of Obion County that caused the alleged injuries

             or death of the decedent.



                                              11
Case 1:20-cv-01056-STA-atc Document 40 Filed 06/26/20 Page 12 of 14                    PageID 206




       10.   Defendants affirmatively state that, at all times relevant, Obion County had proper

             procedures in place for the hiring, training, and supervision of officers, agents and

             employees of Obion County.

       11.   Defendants affirmatively state Sterling Higgins death was the direct result of his

             own intentional, reckless and/or negligent actions. Therefore, Plaintiff cannot

             recover from Defendants.

       12.   Defendants rely upon the doctrine of modified comparative fault under the laws of

             the State of Tennessee as it may apply to the allegations in the First Amended

             Complaint, and as fault may be apportioned to parties other than these Defendants,

             including the decedent, Union City, Tennessee, the Union City Police Department,

             and Robert Osborne. Without admitting the allegations against other named

             Defendants, should the fact finder determine that Union City, Tennessee, the Union

             City Police Department, and/or Robert Osborne were guilty of some negligent act,

             then these Defendants assert that fault should be assigned to the other named

             defendants accordingly in proportion to the percentage of negligence attributed to

             their actions or inactions.

       13.   Defendants specifically and specially deny that the injuries allegedly incurred by

             the decedent were proximately caused by the incident in question or by the acts or

             omissions of Defendants. Defendants further deny that any breach of legal duty by

             act, omission, or otherwise by Defendants were the proximate, producing, or legal

             cause of any injury to the decedent. Alternatively, the negligence or intentional acts

             of third parties, over whom Defendants have no control, was a new and independent

             cause or an intervening cause of any injuries. Those acts or omissions were not
                                              12
Case 1:20-cv-01056-STA-atc Document 40 Filed 06/26/20 Page 13 of 14                       PageID 207




                reasonably foreseeable, and destroyed the causal connection, if any, between any

                alleged actions of Defendants and the alleged occurrence in question and thereby

                became the immediate cause of such occurrence and any alleged injuries sustained

                by the decedent. Any injuries that the decedent sustained, if any, were the fault of

                his own actions or inactions, or that of a third party, and therefore, Plaintiff cannot

                recover from Defendants.

        14.     Plaintiff is not entitled to a jury trial to the extent she has brought claims against

                these Defendants that are subject to the Tennessee Governmental Tort Liability Act

                (“GTLA”), Tenn. Code Ann. § 29-20-101, et. seq., and Defendants move that

                Plaintiff’s jury demand be struck as to all claims arising under the GTLA and/or

                further move that such claims be bifurcated. Moreover, any state law damages

                and/or punitive damages claims against individual defendants should also be

                bifurcated.

        15.     Defendants assert the statute of limitations as a defense in the event that discovery

                in this cause of action yields any information which shows that the Plaintiff’s claims

                may be barred.

        16.     Defendants affirmatively reserve the right to amend, at any time throughout this

                case, any of the foregoing affirmative defenses and/or responses, and/or to assert

                additional affirmative defenses that may become warranted due to discovery or

                factual developments.

        WHEREFORE, PREMISES CONSIDERED, Defendants demand that Plaintiff’s First

 Amended Complaint be dismissed, that the costs of this cause be assessed against the Plaintiff, and

 that the Defendants be awarded reasonable and necessary attorneys’ fees and expenses pursuant to
                                                  13
Case 1:20-cv-01056-STA-atc Document 40 Filed 06/26/20 Page 14 of 14                       PageID 208




 42 U.S.C. § 1988.

                                        Respectfully submitted,

                                        PENTECOST, GLENN & MAULDIN, PLLC

                                By:     s/Nathan D. Tilly
                                        William B. Mauldin (#022912)
                                        Nathan D. Tilly (#031318)
                                        Attorneys for Obion County, Tennessee, an entity named as
                                        Obion County Sheriff’s Department, Mary Brogglin,
                                        Waylon Spaulding, and Brendon Sanford
                                        162 Murray Guard Drive, Suite B
                                        Jackson, TN 38305
                                        Phone: (731) 668-5995
                                        Fax: (731) 668-7163
                                        wmauldin@pgmfirm.com
                                        ntilly@pgmfirm.com


                                CERTIFICATE OF SERVICE

         This is to certify that I have served a copy of this paper or pleading via ECF filing system,
 upon:

 Edwin S. Budge                                        Michael R. Hill
 Erik J. Heipt                                         Michael Varnell
 808 E. Roy Street                                     Flippin, Collins & Hill
 Seattle, WA 92102                                     P.O. Box 679
 ed@budgeandheipt.com                                  Milan, TN 38358
 erik@budgeandheipt.com                                mh_fch@bellsouth.net
                                                       wmv_fch@bellsouth.net
 David L. Cooper
 The Law Office of David L Cooper                      John D. Burleson
 Third Avenue, North, Suite 300                        Dale Conder
 Nashville, TN 37201                                   Rainey, Kizer, Reviere & Bell
 dcooper@cooperlawfirm.com                             209 E. Main Street
                                                       Jackson, TN 38301
                                                       jburleson@raineykizer.com
                                                       dconder@raineykizer.com

 On this the 26th day of June, 2020.

                                        PENTECOST, GLENN & MAULDIN, PLLC

                                By:     s/Nathan D Tilly

                                                  14
